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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN

LELAND FOSTER,                                    )
                                                  )
               Plaintiff,                         )   Case No. 2:18-cv-10545
v.                                                )
                                                  )   Judge Sean F. Cox
Crossroads Shopping Center Investments,           )
LLC., et al                                       )
                                                  )
               Defendants.                        )


                                          STIPULATION

       Pursuant to a confidential Release and Settlement Agreement entered into between the

parties, Leland Foster and Crossroads Shopping Center Investments, LLC., the parties stipulate

that the claims of Plaintiff Leland Foster solely as to the Defendant Crossroads Shopping Center

Investments, LLC., are dismissed with prejudice and without fees or costs. The parties further

stipulate that the Court may retain jurisdiction over this matter to enforce the terms of the

Release and Settlement Agreement.

       The pending crossclaims of Defendants, or Plaintiff Foster’s claims against Family Farm

& Home, Inc. are not affected by the entry of this stipulation.


                                              Respectfully submitted,

/s/ Owen B. Dunn, Jr. ______ _________                /s/ John W. Henke, III
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                                           ORDER
Pursuant to the above Stipulation,

        IT IS ORDERED that the claims of Plaintiff Leland Foster solely as to the Defendant

Crossroads Shopping Center Investments, LLC., are dismissed with prejudice and without fees

or costs.

        IT IS FURTHER ORDERED that the Court retains jurisdiction over this matter to

enforce the terms of the Release and Settlement Agreement.


Dated: December 13, 2018                           s/Sean F. Cox
                                                   Sean F. Cox
                                                   U. S. District Judge
